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18
                              IN THE UNITED STATES DISTRICT COURT
19                           THE NORTHERN DISTRICT OF CALIFORNIA
20                                      SAN JOSE DIVISION

21
     NETCHOICE, LLC d/b/a NetChoice,
22
                    Plaintiff,
23                                               Case No. 5:22-cv-08861-BLF
            v.
24                                               JOINT STIPULATION PROPOSING
     ROB BONTA, ATTORNEY GENERAL OF              BRIEFING SCHEDULE AND
25   THE STATE OF CALIFORNIA, in his official    ENLARGEMENT OF PAGE LIMITS
     capacity,
26
                    Defendant.
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     JOINT STIPULATION
     Case No. 5:22-cv-08861-BLF
      Case 5:22-cv-08861-BLF               Document 96    Filed 09/23/24       Page 2 of 4


 1          Pursuant to the Court’s direction at the status conference held on September 19, 2024 (ECF
 2   95), the parties have met and conferred regarding the briefing schedule, hearing date, and page
 3   limitations for Plaintiff NetChoice LLC’s forthcoming motion for preliminary injunction, and
 4   jointly submit the following revised proposal:
 5         1.       NetChoice’s opening brief shall be no longer than 30 pages and due November 1,
 6                  2024. This reflects an enlargement of 5 pages. See Local Rules 7-2(b), 7-4(b).
 7         2.       The State’s brief in response shall be no longer than 30 pages and due December
 8                  6, 2024. This reflects a 21-day extension, and an enlargement of 5 pages. See Local
 9                  Rules 7-2(b), 7-3(a), 7-4(b).
10         3.       NetChoice’s reply brief shall be no longer than 17 pages and due January 2, 2025.
11                  This reflects a 20-day extension, and an enlargement of 2 pages. See Local Rules
12                  7-3(a), (c), 7-4(b).
13         4.       The parties are available for a hearing on January 23, 2025, a date the Court has
14                  reserved, to begin at a time convenient for the Court.
15         5.       The State shall continue to stay enforcement of the remaining provisions of AB
16                  2273 until March 6, 2025, and shall never attempt to retroactively enforce any
17                  provision of AB 2273 allegedly violated before March 6, 2025.
18

19          IT IS SO STIPULATED.
20

21    DATED: September 23, 2024                          Respectfully submitted,
                                                         DAVIS WRIGHT TREMAINE LLP
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23
                                                         By: /s/    Adam S. Sieff
24                                                                 Adam S. Sieff

25                                                       Attorneys for Plaintiff
                                                         NetChoice LLC, d/b/a NetChoice
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 1    DATED: September 23, 2024                 Respectfully submitted,
                                                ROB BONTA
 2
                                                Attorney General of California
 3                                              ANYA M. BINSACCA
                                                Supervising Deputy Attorney General
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 5                                              By: /s/ Kristin Liska
                                                   KRISTIN A. LISKA
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                                                   Deputy Attorney General
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 1                      CERTIFICATION OF SERVICE AND COMPLIANCE
 2          I, Adam S. Sieff, hereby certify that pursuant to N.D. Cal. Civil L.R. 5-1(h)(3), I have
 3   obtained authorization from the above signatories to file the above-referenced document and that
 4   they have concurred in the filing’s content. I further certify that I have served all parties with the
 5   foregoing by electronic service through the Court’s ECF system.
 6

 7   Dated: September 23, 2024
 8                                                       Respectfully submitted,
 9                                                       DAVIS WRIGHT TREMAINE LLP
10
                                                         By: /s/ Adam S. Sieff
11                                                               Adam S. Sieff
12                                                       Attorneys for Plaintiff
                                                         NetChoice, LLC d/b/a NetChoice
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